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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                            Case No. 2:16-CR-32 JCM (GWF)
                 8                                            Plaintiff(s),                    ORDER
                 9              v.
               10        EMILE EDWARD BOUARI, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is defendant Ghassan Houbous Bouari’s verified petition for a
               14       certificate of innocence. (ECF No. 122).
               15              On February 3, 2016, defendant, along with others, was indicted on money laundering
               16       charges. (ECF No. 1). On May 17, 2017, defendant filed a motion to dismiss. (ECF No. 89). On
               17       August 4, 2017, the government moved to dismiss the criminal indictment against Bouari pursuant
               18       to Federal Rule of Criminal Procedure 48(a). (ECF No. 113). On August 9, 2017, the court granted
               19       the government’s motion. (ECF No. 116).
               20              Defendant now requests the court to grant him a certificate of innocence. (ECF No. 122).
               21       The government’s dismissal of an indictment is not tantamount to a finding of innocence regarding
               22       the underlying charges. The court will deny defendant’s verified petition for a certificate of
               23       innocence.
               24              Accordingly,
               25              IT IS SO ORDERED.
               26              DATED November 30, 2017.
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               28                                                    UNITED STATES DISTRICT JUDGE

James C. Mahan
U.S. District Judge
